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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN

LELAND FOSTER,                                    )
                                                  )   Case No. 1:16-cv-1428
               Plaintiff,                         )
                                                  )   Magistrate Judge Ellen S. Carmody
v.
                                                  )
                                                  )
                                                  )
Shiv Shakti Lodging, LLC., a Michigan             )
limited liability company,                        )
               Defendant.                         )



                                         STIPULATION

        Pursuant to a confidential Release and Settlement Agreement entered into between the

parties, the parties stipulate that this case may be dismissed with prejudice and without costs.

The parties further stipulate that the Court may retain jurisdiction over this matter to enforce the

terms of the Release and Settlement Agreement.


                                      Respectfully submitted,

Dated: Dec 28, 2017                      Dated: Dec 28, 2017

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                                       ORDER

      Pursuant to the above Stipulation,

      IT IS ORDERED that this matter is dismissed with prejudice and without costs.

      IT IS FURTHER ORDERED that the Court retains jurisdiction over this matter to

enforce the terms of the Release and Settlement Agreement.



        December 29
Dated: ____________________, 2017            /s/ Ellen S. Carmody
                                             _____________________________
                                             Honorable Ellen S. Carmody
                                             United States Magistrate Judge
